
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $175.00 for an item of personal property that was entrusted to respondent’s employees when he was taken to Southwestern Regional Jail, a facility of the respondent. At the time of claimant’s trial, he discovered a ring was missing. Thus far, respondent’s employees have been unable to produce claimant’s personal property.
In its Answer, respondent admits the validity of the claim, but states that the amount of $75.00, rather than the amount claimed of $175.00, is fair and reasonable. Claimant is in agreement with the amount of $75.00. The Court is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination.
The Court has taken the position in prior claims that a bailment situation has been created, if property of an inmate which is taken from that inmate, remains in the custody of respondent, and is not produced for return to the inmate at a later date.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $75.00.
Award of $75.00.
